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 1
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 7
 8 Attorneys for Danielle James
 9                           UNITED STATES DISTRICT COURT

10                                 DISTRICT OF NEVADA
11
   KIZZY BYARS, DANIELLE JAMES, as                  Case No.: 2:19-cv-1690-JCM-DJA
12 individuals and On Behalf of Others Similarly
   Situated;,
13
                  Plaintiffs,
14                                                       NOTICE OF APPEARANCE
15         vs.

16 WESTERN BEST LLC, a Nevada Limited
   Liability Company doing business as THE
17 CHICKEN RANCH; DOES I through X,
18 inclusive, and ROE CORPORATIONS I
   through X, inclusive,
19
                  Defendants.
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 1 PLEASE TAKE NOTICE Jason D. Guinasso, Esq. and Astrid A. Perez, Esq. of HUTCHISON
 2 & STEFFEN, PLLC hereby enters their appearance on behalf of Plaintiff Danielle James and
 3 requests all correspondence, future notices, pleadings and correspondence be served upon the
 4 follow address:
 5
                  Jason D. Guinasso, Esq.
 6
                  Astrid A. Perez, Esq.
 7                HUTCHISON & STEFFEN, PLLC
                  5371 Kietzke Lane
 8                Reno, NV 89511
                  jguinasso@hutchlegal.com
 9                aperez@hutchlegal.com
10 DATED this 30th day of September, 2022.
11
                                               HUTCHISON & STEFFEN, PLLC
12
13                                             /s/ Astrid A. Perez
14
                                               Jason D. Guinasso, Esq.
15                                             Nevada Bar No. 8478
                                               Astrid A. Perez
16                                             Nevada Bar No. 15977
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20                                             Attorneys for Plaintiff
21                                             Danielle James

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 1                      ELECTRONIC CERTIFICATE OF SERVICE
 2        Pursuant to FRCP 5(b), I hereby certify that on this 30th day of September, 2022, a true
 3 and correct copy of the foregoing NOTICE OF APPEARANCE was electronically filed
 4 with the United States District Court. Electronic service of the foregoing document shall be
 5 made in accordance with the Master Service List as follows:
 6
 7   Ryan Alexander                              Colleen E McCarty
     Ryan Alexander, Chtd.                       Fox Rothschild LLP
 8   3017 West Charleston Blvd.                  One Summerlin
     Suite 58 Las Vegas, NV 89102                1980 Festival Plaza Drive
 9   Email: ryan@ryanalexander.us                Suite 700 Las Vegas, NV 89135
10                                               Email: cmccarty@foxrothschild.com

11   Deanna L Forbush                            John M Orr
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18
19
20
21                                              /s/ Delilah Deffmew
                                                Employee of Hutchison & Steffen, PLLC
22
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24
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